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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

POW! ENTERTAINMENT, LLC,                                 )
                                                         )   Case No.: 20-cv-1093
                                                         )
                                                         )   Judge Matthew F. Kennelly
                 Plaintiff,                              )
                                                         )
v.                                                       )
                                                         )
THE INDIVIDUALS, CORPORATIONS,                           )
LIMITED LIABILITY COMPANIES,                             )
PARTNERSHIPS AND UNINCORPORATED                          )
ASSOCIATIONS IDENTIFIED ON                               )
SCHEDULE A HERETO,                                       )
                                                         )
                 Defendants.                             )

                       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff POW!
ENTERTAINMENT, LLC, hereby dismisses with prejudice all causes of action in the complaint against
the following Defendants identified in Schedule A. Each party shall bear its own attorney’s fees and
costs.
         No.     Defendant
         210     Qliuyun
         224     songdianpu
         247     xiaweizhen88
         251     yangdingzhou89064
         254     yanshuai
         262     z7z7z8
         265     Zhangyini123
         267     zhengguangyuan8787

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                          Respectfully submitted,
Dated: May 15, 2020                      By:     s/Michael A. Hierl             _
                                                 Michael A. Hierl (Bar No. 3128021)
                                                 William B. Kalbac (Bar No. 6301771)
                                                 Hughes Socol Piers Resnick & Dym, Ltd.
                                                 Three First National Plaza
                                                 70 W. Madison Street, Suite 4000
                                                 Chicago, Illinois 60602
                                                 (312) 580-0100 Telephone
                                                 mhierl@hsplegal.com

                                                 Attorneys for Plaintiff
                                                 Pow! Entertainment, LLC
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on May 15, 2020.


                                                          s/Michael A. Hierl
